Case 8:18-cv-03546-PX Document 74-2 Filed 05/06/21 Page 1 of 9




                     EXHIBIT B
Case 8:18-cv-03546-PX Document 74-2 Filed 05/06/21 Page 2 of 9
       Case 8:18-cv-03546-PX Document 74-2 Filed 05/06/21 Page 3 of 9
                            [stamp:] Shanghai Municipal
                            High People’s Court
          Shanghai Municipal High People’s Court
              Document Certificate of Service
                               Dispute over
                              application for               Case        (2021) Hu Min Shen No.
 Cause of Action
                           company amendment                No.                  862
                               registration
     Served
   Documents
                            Case Acceptance Notice [hw:], Integrity Supervision Card
    Name and
  number of sets

   Received by           Lvting Properties Co., Ltd.:

                          Lawyer Liu Jiadi, Shanghai Office, Jun He Law Firm, 26/F
    Address of
                         Office Building No. 1, Hong Kong Xingye Center, No. 288,
     Service
                         Shimen 1st Road, Shanghai 13524669012

  Received by
Signature or seal
                                                                              (Month) (Day), (Year)
    Agent for
  collection and
reason for agency
    collection
                                                                              (Month) (Day), (Year)
                          After signing and sealing this certificate, it shall be mailed to
                         Ding Zhenyu of the Commercial Affairs Chamber of the
   For reference         Shanghai High People’s Court. Address: No. 535, Xiangyang
                         South Road (near Zhaojiabang Road), Postal Code: 200031
                         Tel: 021-63080000*5171


   Completed by: Ding Zhenyu                                                      Delivered by:
      (1) The service of civil and administrative litigation documents shall be handled in
Note: accordance with or with reference to the provisions of Articles 85 and 86 of the Civil
      Procedure Law.
      (2) If the litigation documents are collected on behalf by an agent, after the agent signs or
      affixes the seal, his/her relationship with the recipient and the reason for collection on
      behalf by the agent should also be stated.
     Case 8:18-cv-03546-PX Document 74-2 Filed 05/06/21 Page 4 of 9



      Shanghai Municipal High People’s Court
 Notice of Acceptance of Civil Application for Retrial
                                          (2021) Hu Min Shen No. 862
                                                                  To
To Lvting Properties Co., Ltd.:

      In a dispute regarding the change of company registration with
Shibang Co., Ltd., Xu Liangyan and Shanghai Lvting SJHC Real Estate
Development Co., Ltd., your unit is dissatisfied with the civil judgment
(2020) Hu 01 Min Zhong No. 10686 issued by Shanghai First
Intermediate People’s Court on December 31, 2020 and has applied to
this court for retrial. This court has opened a case for examination.

     This notice is hereby given.




                                                [stamp:] Shanghai Municipal
                                                High People’s Court


                                                           April 20, 2021


Contact Person: Ding Zhenyu
Telephone: 021-63080000 extension

Address: No. 308 Zhaojiabang Road, Shanghai
Postal code: 200031
       Case 8:18-cv-03546-PX Document 74-2 Filed 05/06/21 Page 5 of 9


     Shanghai High People’s Court Integrity Supervision Card
                                                                                                2021 Hu Gao No. 1761
           Basic information of the parties involved in the case and the persons supervised
    Case
number and                                                            Supervised
                (2021) Hu Min Shen No. 862
  cause of                                                               by
   action
                 Name (also           Lvting Properties Co.,
 Parties to                                    Ltd.
                                                               Phone
                 known as)
  the case                             Room 12, 10/F, Wing On Plaza, 62 Mody Rd, Tsim Sha Tsui East,
                   Address
                                              Kowloon, Hong Kong Special Administrative Region
Whether court staff are found to have problems such as judicial integrity and style, etc.
                                                              Nil
                ☐ 1. Malpractice for personal gain, abuse the law and practice favoritism, handle any relationship or
                      personal relations case;
                ☐ 2. Request to accept the property of a party involved in the case, or use other means to seek
                      personal gains in the case;
                ☐ 3. Abuse of power, dereliction of duty, resulting in loss of the legal rights and interests of a party
                      involved in the case;
                ☐ 4. Deliberately abandoning, tampering with, concealing, forging or secretly exchanging evidence or
                      other litigation materials;
                ☐ 5. Illegally taking criminal compulsory measures or illegally taking civil preservation or
                      enforcement measures;
                ☐ 6. Meet with a party involved in the case in violation of regulations, accept treats and gifts from a
                      party involved in the case, or lobby for a party involved in the case;
                ☐ 7. Make a disclosure to a party involved in the case in violation of regulations, or disclose state
                      secrets, trial work secrets, trade secrets and personal privacy;
                ☐ 8. Engaging in improper dealings with the defense or litigation agent, or recommending a lawyer to
                      a party involved in the case in violation of regulations;
                ☐ 9. Fail to recuse himself / herself in accordance with the law when handling a case;
                ☐ 10. Beating or insulting a party involved in the case, or torture, physically punish or maltreat a party
                      involved in the case who is in custody;
   〇 Yes        ☐ 11. The style of work is rough, the parties to the case are coldly pushed, or exceeding the limit of trial
                      without reason;
                ☐ 12. Collecting illegal fees, or ask for sponsorship and apportionment of property from the parties in
                      the name of the unit;
                ☐ 13. The property clues provided by the application executor are not verified and investigated in time,
                      failing to take necessary investigation and control measures and other enforcement measures
                      according to law after putting the case on file, refuse to accept the implementation of objection or
                      the implementation of reconsideration application and make the corresponding legal documents
                      according to law, issue no receipt for collection of execution money and property, unreasonably
                      delay the payment time of execution funds;
                ☐ 14. Preservation or use of the involved property in violation of regulations;
                ☐ 15. Randomly changing the court time, not holding hearings on time, attending court after drinking
                      alcohol, or smoking in court, chatting, sleeping, picking up phone calls, leaving court with the
                      chief, doing things unrelated to the trial;
                ☐ 16. Failure to perform the obligation of notification of the trial enforcement information without
                      reason;
                ☐ 17. Serious omission of legal documents;
                ☐ 18. Other acts in violation of the code of conduct and regulations;


                                                                         ______YYYY____MM____DD
Precautions
1. The Integrity Supervision Card shall be filled in by the party involved in the case (agent).
2. If you have any questions, you can directly report your concerns by contacting the 12368
   litigation service platform and the report acceptance website (http://jubao.court.gov.cn/).
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      Case 8:18-cv-03546-PX Document 74-2 Filed 05/06/21 Page 6 of 9




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         由


                                                            (2021) 沪民申 862 号
                              纠纷

 送达文书
                受理案件通知书］仔过袒畔
名称和件数


 受送达人           绿庭置业有限公司

                上海市石门一路 288 号香港兴业中心办公楼一座 26
 送达地址
              层君合律所上海分所刘佳迪律师 13524669012


 受送达人

签名或盖章
                                                                     年

                                                                         月


                                                                             曰
 代收人及

 代收理由
                                                                     年

                                                                         月


                                                                             日




                此证签名、盖章后，寄回上海市高级人民法院商事
     备

         考




              庭丁振字。地址：襄阳南路 535 号（近肇嘉洪路），

              邮编： 200031 电话： 021-63080000*5171


     填发人：    丁振字                                                 送达人：

     (1) 送达民事、行政诉讼文书，按照或参照民事诉讼法第八十五条、第八十六条
注：
     的规定办理。
     (2) 代收诉讼文书的，由代收人签名或盖章后，还应注明其与受送达人的关系及
     代收理由。
 Case 8:18-cv-03546-PX Document 74-2 Filed 05/06/21 Page 7 of 9




          上海市高级人民法院
       民事申请再审案件受理通知书

                                               (2021) 沪民申 862 号



绿庭置业有限公司：
  你单位因与世邦有限公司、许良彦、上海绿庭四季花城房地
产开发有限公司请求变更公司登记纠纷一案，不服上海市第一中
级入民法院于二 0 二 0 年十二月三十一日作出的 (2020) 沪 01 民
终 10686 号民事判决书，向本院申请再审，本院已立案审查。
  特此通知。




联系人：丁振宇                            电话： 021-63080000 转

地址：上海市肇嘉洪路 308 号                   邮政编码： 200031
       Case 8:18-cv-03546-PX Document 74-2 Filed 05/06/21 Page 8 of 9




                      上海市高级人民法院廉政监督卡
                                                            2021 沪 1：：：』第 1761 号




二三：丿/:／丿｀62压0楼2室
                            知＇！当半人及被监督人基本信息



案件当事人




             工徇私厮弊、徇估札心，办刚关系案、人情案·

             口 2 索取收艾栥件叮事人财物，或者采取具他方式以栥品私．

             ::J3 滥用职权、玩忽职勺一，计致＇栥 /'I 灯 'li 人合法权益点受损失：

             ::J 1 故记、毁弁、荔改、 1为化、伪心、偷换订I据或者其他诉讼材料：

             ::J5 违规采取刑小强制拈舱或者违规采取民巾保全、执行措施；

             习 6 违规会见案件兰1·J;: 人，或者接受案件当 'lf 人的哨各送礼、为案件当平人请托说情：

             习 7..iJi 规为案件当书人追风报忙，或者泄森国家秘来、审判丁作秘仵；、间业秘治和个人隐私；

             ::J8 与戊护人、诉讼代J叩人进 h 个仆叮父往，或者违规为案件当事人推荐介绍律帅；

             ::J9 化办案中依法应 f· 回归 ll,l) 不扣l 迦

             ::J10 陨打、呼骂＇朵件飞巾人，或者刑仆＼迪供、休罚、 1占持衱羁押的案件当咑人；

             习 ll 作风粗暴，对栥件叮巾人冷硬横推，或者尤故超审限；
    O有       勹 l2 违规收伪，或者以中 (,i 名义向案件飞事人素要赞耿、摊派财物·

             二 13. 对申请执行人提供的财产线系不及时核文查控、执行立栥后不依法采取必要的

               查控措施及其他执行拈施、不按法律规定艾理执行异议、执行复议申谓并作： 1,1

               和应的法律义书、收取执行，从物小： 1 ：只收据、尤故拖延执行栨划付时间：

             勹 1·1 违规保岱、使用涉案，从物

             二 l5．随，心更改开寸廷时间、片 1廷札仕时、心后出庭，或者在庭卜吸烟、聊天、打临睡、

               接打屯话、随总岛廷、做 1) ／廷审尤关们书．

             ::J16. 尤故小履行·，-h 判执行（古息．们知义务；

             ::Jl7 法 i 1俨！又书铅品严币：

             勹 l8 从他违反作风纪 ii忱见，J__ 佯山为



                                              年月日

注意事项

l   廉政监督 I~- ElI 案件当出人（代 ilJ！人）埴 '/j 。

2 若有疑问司自接向 12368诉讼服务平台和举报受理网站 Chttp://jubao.court.gov. en/) 询问。
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                                             上海市辽阳南路535号商事庭                            联系如3080000
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                                      辜趴吓申862号                                            号                                            地址
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                                  经于人签拿                                    主管人员圣章
                                                                                                                                  邮件收到日期                                              叶投递员签名：

                                                                                                                                  提示：本法律文书具有法偉效力，必须如实填写，否则须承担法律责fE

        ．，［勹
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                                                              1079892758694                                                       本麟仅限寄递法院专递邮件时使用，请用力填写！
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                                 1. 收件人本人签收的，需出示有效身份证件，签名井填写证件号码。
                                2. 收件人是单位的，签收人签收时需出示有效身份证件，签名井填                                                                                                                                      ^3                封套编码, B-FT-100
                                                                                                                                                                                                                       印制单位：宁波鸿达印务有限公司
                                                                                                                                                                                                                       印炽： 100万
                                        写证件号码，同时必须注明与收件人的关系。                                                                                                                                                           生产日期： 2019年 7 月


                                                                                                                                                                             同
                                                                                                                                                                                                                       国家邮政局市场监管司监制
                                3. 代收人签收的，需出示有效身份证件，签名并填写证件号码，                                                                                                                                                         监制证号： 31-07-79

                                        时必须注明与收件人的关系（仅限同住成年家属）。
                               4. 投递成功需及时将回执返回，投递未成功需在详情单上标注原因。
